     Case 1:21-cv-22441-RNS Document 35 Entered on FLSD Docket 08/23/2021 Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     SouthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Florida

 DONALD J. TRUMP, the Forty-Fifth President of the
 United States, INDIVIDUALLY AND ON BEHALF OF
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No. 1:21-CV-22441
          TWITTER, INC., and JACK DORSEY                           )
                                                                   )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TWITTER, INC
                                         Registered Agent:
                                         CT Corporation System
                                         1200 South Pine Island Road
                                         Plantation, FL 33324



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Vargas Gonzalez Baldwin Delombard, LLP
                                         815 Ponce de Leon Blvd., Third Floor
                                         Coral Gables, FL 33134




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:             08/20/2021
                                                                                       Signature of Clerk or s/ Alisha
                                                                                                             Deputy    Beasley-Martin
                                                                                                                    Clerk
     Case 1:21-cv-22441-RNS Document 35 Entered on FLSD Docket 08/23/2021 Page 2 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
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 DONALD J. TRUMP, the Forty-Fifth President of the
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                             Plaintiff
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                                v.                                 )       Civil Action No. 1:21-CV-22441
          TWITTER, INC., and JACK DORSEY                           )
                                                                   )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JACK DORSEY
                                         C/O Twitter, Inc.
                                         Registered Agent: CT CORPORATION SYSTEM
                                         1200 SOUTH PINE ISLAND ROAD
                                         PLANTATION, FL 33324



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                         815 Ponce de Leon Blvd., Third Floor
                                         Coral Gables, FL 33134




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                                                                             CLERK OF COURT


Date:             08/20/2021                                                                                 s/ Alisha Beasley-Martin
                                                                                       Signature of Clerk or Deputy Clerk
